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                                            UNITED STATES DISTRICT COURT
                                             MIDDLE DISTRICT OF FLORIDA
                                               JACKSONVILLE DIVISION

                                                   1N ADMIRALTY


 FLAMINGO CAY,LTD., a Bahamian
 limited liability company,

                   Plaintiff,

 v.                                                          CASE NO. 14-cv-01392-TJC-PDB

 M/V FLAMINGO EXPLORER (ex: PERFECT
 LIFE), a 165-foot motor vessel registered in
 the Marshall Islands with Official Number 70582,
        and ST. JOHNS SHIP BUILDING,INC.,
 in
      rein
 a Florida corporation,
                           in
                                personam,
                  Defendants.



                                                  MOTION TO STAY

             COMES NOW the Defendant, ST. JOHNS SHIP BUILDING, INC., by and through

 its undersigned counsel and moves this Honorable Court to stay the action against them and in

 support thereof would state:

             1.   Plaintiff in this action is Counter-Claimant in a previously filed action.

             2.   The Counterclaim in the previously filed action is virtually identical to the

 claim set forth in this action.

             3.   It is in the best interest of judicial economy to stay this matter pending a

 resolution of the previously filed action, which will resolve all of the issues set forth in this

 action.
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         WHEREFORE, Defendant, ST. JOHNS SHIP BUILDING, INC., respectfully moves

 this Honorable Court to stay this action.

                           MEMORANDUM OF LAW IN SUPPORT

         Rule 1 of the Federal Rules of Civil Procedure specifically provides that the Rules are

 to be construed and administered to secure the just, speedy and inexpensive determination of

 every action and proceeding. It is in the best interest ofjudicial economy to stay this matter

 pending resolution of the prior filed matter, which will decide exactly the same issues that are

 presented in this case.

                            LOCAL RULE 3.010)CERTIFICATE

        The undersigned counsel for Defendant, ST. JOHNS SHIP BUILDING,INC., hereby

 certifies that he has been in contact with counsel for Plaintiff, and that counsel for Plaintiff

 has no objection to this Motion and the relief requested herein.

                                                Respectfully submitted,

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                                                                   ~'

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                                                Attorneys for Defendant,
                                                St. Johns Ship Building, Inc.
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on January 22, 2015, I filed the foregoing with the Clerk of

 the Court by using the CM/ECF system which will send a notice of electronic filing to all

 counsel of record.                                 ~

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                                             Allenvon Spi gelfeld — FBN 256803
